Case 1:17-cv-02481-RM-GPG Document 18 Filed 04/05/18 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:17-cv-02481

  CATHERINE WIESELER-MYERS,
  individually and on behalf of others similarly
  situated,

         Plaintiff,

  v.

  JOHN C. HEATH, ATTORNEY AT LAW,
  PLLC, d/b/a LEXINGTON LAW FIRM, a Utah
  professional limited liability company,

         Defendant.


                      PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE


         PLEASE TAKE NOTICE that Plaintiff Catherine Wieseler-Myers (“Plaintiff”), pursuant

  to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily dismisses all claims in this

  action with prejudice as to all defendants. Plaintiff and defendant shall bear their own costs and

  attorneys’ fees.

         Federal Rule of Civil Procedure 41(a)(1)(A)(i) states:

         (a)     Voluntary Dismissal.

         (1)     By the Plaintiff.

         (A)     Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any
                 applicable federal statute, the plaintiff may dismiss an action without a court order
                 by filing:

         (i)     a notice of dismissal before the opposing party serves either an answer or a
                 motion for summary judgment[.]
Case 1:17-cv-02481-RM-GPG Document 18 Filed 04/05/18 USDC Colorado Page 2 of 2




  Fed. R. Civ. P. 41(a)(1)(A)(i).

         Defendant has not yet appeared and has not served an answer or a motion for summary

  judgment.

  DATED: April 4, 2018


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  Attorneys for Plaintiff and the Putative Class




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